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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
MICHELE GRAY et al.,

                           Plaintiffs,                  1:20-cv-896
                                                         (GLS/CFH)
                    v.

CAPSTONE FINANCIAL et al.,

                           Defendants.

                                         ORDER

      The above-captioned matter comes to this court following an Report-

Recommendation & Order (R&R) by Magistrate Judge Christian F. Hummel,

duly filed on September 22, 2020. (Dkt. No. 5.) Following fourteen days from

the service thereof, the Clerk has sent the file, including any and all objections

filed by the parties herein.

      No objections having been filed, and the court having reviewed the R&R

for clear error, it is hereby

      ORDERED that the Report-Recommendation & Order (Dkt. No. 5) is

ADOPTED in its entirety; and it is further

      ORDERED the claims asserted by plaintiff Cheetah Foods LLC are

DISMISSED without prejudice; and it is further

      ORDERED that plaintiff Michele Gray’s Fair Debt Collection Practices

Act, Federal Trade Commission Act, Truth in Lending Act, Home Ownership
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Equity Protection Act and violation of the automatic bankruptcy stay claims

are DISMISSED with prejudice; and it is further

      ORDERED that the remainder of Gray’s complaint is DISMISSED

without prejudice and with leave to amend; and it is further

      ORDERED that Gray may file an amended complaint within thirty (30)

days of this Order; and it is further

      ORDERED that, if Gray files an amended complaint in the time

permitted, same will be referred to Magistrate Judge Hummel for further

review; and it is further

      ORDERED that, if Gray fails to file an amended complaint in the time

permitted, the Clerk is directed to enter judgment without further order of the

court; and it is further

      ORDERED that the Clerk provide a copy of this Order to Gray in

accordance with the Local Rules of Practice.

IT IS SO ORDERED.

November 5, 2020
Albany, New York




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